Case 1:18-cv-00217-REB-KLM Document 38 Filed 07/23/18 USDC Colorado Page 1 of 9




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Robert E. Blackburn

  Civil Action No. 18-cv-00217-REB-KLM

  WILLIAM MONTGOMERY,

         Plaintiff,
  v.

  MATTHEW CHERNAK,
  MIKE HOWARD, and
  MATTHEW BROUGH,

         Defendants.


                       TRIAL PREPARATION CONFERENCE ORDER

  Blackburn, J.

         Pursuant to Fed. R. Civ. P. 16(e), D.C.COLO.LCivR 16.3, and D.C.COLO.LCivR

  43.1, the court enters this Trial Preparation Conference Order.

         IT IS ORDERED as follows:

         1. That to resolve pretrial issues implicating Fed. R. Evid. 702, 703, 704, or 705,

  the following procedural protocol shall be used; provided, further, that unless otherwise

  ordered, failure to raise an issue concerning a putative expert witness in the time and

  manner required in this order shall constitute a waiver of the issue:

                 a. That for an expert witness who must provide an expert report under

  Fed. R. Civ. P 26(a)(2)(B), the expert report shall conform in substance to the

  requirements of Fed. R. Civ. P. 26(a)(2)(B) and shall contain and include the following:

                       1. a complete statement of each expert opinion to be expressed

  and the bases and reasons therefor;
Case 1:18-cv-00217-REB-KLM Document 38 Filed 07/23/18 USDC Colorado Page 2 of 9




                       2. the facts, data, and other information considered by the witness

  in forming each expert opinion;

                       3. any exhibits to be used as a summary of or support for each

  expert opinion;

                       4. the qualifications of the witness, including a list of all publications

  authored by the witness within the preceding ten years, stated in a curriculum vitae

  (“c.v.”);

                       5. the compensation to be paid the expert for the study and

  testimony; and

                       6. a listing of any other cases in which the witness has testified as

  an expert at trial or by deposition within the preceding four years;

                b. That for an expert witness who is not required to provide an expert

  report under Fed. R. Civ. P 26(a)(2)(C), the expert report shall conform in substance to

  the requirements of Fed. R. Civ. P. 26(a)(2)(C)(i) and (ii).

                c. That all motions concerning the testimony of expert witnesses raising

  issues under Fed. R. Evid. 401, 702, 703, 704, or 705 as codified and construed shall

  be filed by February 13, 2019, and marshaled in the time and manner prescribed by

  D.C.COLO.LCivR 7.1(d);

                d. That for each putative expert witness for whom the movant objects for

  any reason, the movant shall provide the following:

                       1. whether the movant contends that the testimony of the expert is

  unnecessary or irrelevant; and if so, why;



                                                2
Case 1:18-cv-00217-REB-KLM Document 38 Filed 07/23/18 USDC Colorado Page 3 of 9




                       2. whether the movant objects to the qualifications of the witness;

  and if so, why (stated in detail); and

                       3. whether the movant objects to any opinion to be offered by the

  expert; and if so:

                              a. which opinion; and

                              b. the specific basis and authority for any objection stated

  and presented in terms of Fed. R. Evid. 401, 702(a), (b), (c), or (d), 703, 704, or 705,

  e.g., whether the objection impugns the relevancy of the opinion, the qualifications of

  the expert, the sufficiency of the facts and data used in support of the opinion, the

  principles and methods on which the expert relied in support of the opinion, how the

  expert has applied the principles and methods reliably to the facts of the case relevant

  to the opinion, or the facts or data used in forming an opinion on the subject; and

                e. That for each putative expert witness whose necessity, qualifications, or

  opinions are opposed by the movant, the party offering the expert shall provide in

  response to the motion the following:

                       1. a c.v. for the expert;

                       2. a statement of each opinion to be offered by the expert that is

  opposed by the movant; and

                       3. the relevance and bases for each allegedly objectionable

  statement to be offered by the expert, including

                              a. the facts or data on which the expert relied in support of

  the opinion made the focus and subject of objection;

                              b. the principles and methods on which the expert relied in

                                                   3
Case 1:18-cv-00217-REB-KLM Document 38 Filed 07/23/18 USDC Colorado Page 4 of 9




  support of the opinion made the focus and subject of objection; and

                              c. how the expert has applied the principles and methods

  reliably to the facts of the case relevant to the opinion made the focus and subject of

  objection;

         2. That trial by jury shall commence July 29, 2019, at 8:30 a.m., in courtroom

  A1001, located on the 10th Floor North, of the Alfred A. Arraj, United States Courthouse

  Annex, 901 19th Street, Denver, Colorado 80294, at which trial all parties shall appear in

  person without further notice, order, or subpoena;

         3. That the court reserves five days for trial: Monday, July 29, 2019 through

  Friday, August 2, 2019;

         4. That counsel and any pro se party shall appear in courtroom A1001 on the first

  day of trial at 8:00 a.m., to review and discuss with the courtroom deputy clerk and the

  court, if necessary, any final details, arrangements, or requirements concerning the trial;

         5. That a combined Final Pretrial Conference and Trial Preparation Conference

  (conference) shall commence on June 26, 2019, at 1:30 p.m. (MDT), in courtroom

  A1001;

         6. That lead counsel and any pro se party shall attend the conference;

         7. That for use and consideration during the conference, the parties shall file in

  CM/ECF and submit via email to blackburn_chambers@cod.uscourts.gov a proposed

  Final Pretrial Order in the time, manner, and form prescribed by D.C.COLO.LCivR 16.3

  and the “Instructions for Preparation of Final Pretrial Order” to Local Rules of Practice




                                               4
Case 1:18-cv-00217-REB-KLM Document 38 Filed 07/23/18 USDC Colorado Page 5 of 9




  - Forms1; except that the proposed Final Pretrial Order under section “6.

  EXHIBITS”shall not require the parties to list the exhibits to be offered by each party as

  otherwise required under subsection “a” (See instead, paragraph 8, infra.), and shall

  provide under subsection “b” that copies of exhibits must be provided to opposing

  counsel or any pro se party no later than 45 days before trial and that objections to the

  exhibits must be served by personal delivery, electronic mail, or facsimile no later than

  30 days before trial;

         8. That at the outset of the conference, the parties shall submit one Parties’ Joint

  Exhibit List on the form required by the court (an original for the court with copies for the

  courtroom deputy clerk, the court reporter, and all other parties) and in addition to the

  information required to be submitted under section “6. WITNESSES” of the final pretrial

  order, each party shall submit on the Witness List form required by the court (an original

  for the court with copies for the courtroom deputy clerk and all other parties) a “will call”

  witness list enumerating the name and address (city or county and state only) of each

  witness that will be called and a “may call” witness list enumerating the name and

  address (city or county and state only) of each witness that may be called; provided,

  furthermore, that the “will call” witness list constitutes a representation on which the

  court and every other party may rely that the “will call” witnesses listed will be present

  and available to testify during trial;

         9. That pursuant to REB Civ. Practice Standard III.A.4.b., immediately before

  commencement of trial, the parties shall submit to the courtroom deputy clerk the



         1
             Available at http://www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms.aspx

                                                     5
Case 1:18-cv-00217-REB-KLM Document 38 Filed 07/23/18 USDC Colorado Page 6 of 9




  exhibits identified in their joint exhibit list (a set of original exhibits for use by the

  witnesses and copies for the court, the courtroom deputy clerk, opposing counsel (one

  set per party), and any pro se party);

         10. That at the conference the parties shall be prepared to review and discuss,

  inter alia, the following:

                 a. the proposed Final Pretrial Order;

                 b. stipulated and proposed jury instructions and verdict forms;

                 c. voir dire questions;

                 d. the jury selection process and the use of juror questionnaires;

                 e. identification of all persons permitted to be seated at each party’s table;

                 f. the pronunciation of problematic party’s and witness’ names;

                 g. the names or monikers that may be used when referring to a party or a

  witness;

                 h. identification of “will call” and “may call” witnesses;

                 i. use of deposition testimony:

                         1. designation of specific testimony by page and line; and

                         2. identification of the person selected to read deposition answers;

                 j. use of video depositions:

                         1. resolution of objections;

                         2. pretrial redaction, if necessary; and

                         3. arrangements for necessary equipment to broadcast the

  deposition;

                 k. issues concerning witnesses and exhibits;

                                                   6
Case 1:18-cv-00217-REB-KLM Document 38 Filed 07/23/18 USDC Colorado Page 7 of 9




                  l. the allocation of trial time between the parties;

                  m. the admission of stipulated exhibits or exhibits about which there are

  no objections;

                  n. timing of publication, if any, of trial exhibits to the jury;

                  o. anticipated evidentiary issues;

                  p. the necessity for cautionary or limiting instructions;

                  q. requests or requirement for trial briefs;

                  r. exemptions from the order of sequestration of witnesses;

                  s. security precautions, requirements, or issues;

                  t. training on the use of courtroom technology;

                  u. transporting and bringing equipment, models, props, or other property

  into the courthouse and courtroom for use during trial;2

                  v. courtroom etiquette and protocol; and

                  w. appropriate courtroom attire for parties, party representatives, and

  witnesses;

          11. That unless ordered otherwise, each side shall be permitted voir dire

  examination not to exceed 15 minutes following voir dire examination by the court, but

  shall not reiterate questions previously propounded by the court or another party;



          2
            The court has audio, video, audio-visual, evidentiary presentation, and other special equipment
  that may be used by the parties. A listing of available equipment can be found on the District Court’s
  website at http://www.cod.uscourts.gov/AttorneyInformation/GeneralAttorneyInformation.aspx under
  “Courtroom Technology Manual for Attorneys.” Arrangements for training on courtroom technology must
  be made with Leigh Roberson at (303) 335-2166, at least 14 days before trial. Notify the courtroom
  deputy clerk no later than fourteen (14) days before the date and time you need such equipment or need
  your own equipment to be brought through security for use in the courtroom.


                                                      7
Case 1:18-cv-00217-REB-KLM Document 38 Filed 07/23/18 USDC Colorado Page 8 of 9




         12. That unless ordered otherwise, the jurors shall not be sequestered before

  deliberations;

         13. That trial witnesses subject to sequestration under Fed. R. Evid. 615 shall be

  sequestered by order entered sua sponte immediately before opening statements;

         14. That unless ordered otherwise, opening statements shall be limited to thirty

  (30) minutes per side;

         15. That the court will not engage in the examination of any witness, except to

  eschew plain error;

         16. That objections made in the presence or hearing of the jury, i.e., so-called

  “speaking” objections, shall be stated as succinctly as practicable and supported by

  recitation of apposite authority when possible; however, neither counsel nor a pro se

  party shall speechify an objection in the presence or hearing of the jury [See Fed. R.

  Evid. 103(d)];

         17. That unless interrupted or otherwise ordered by the court, in marshaling

  motions or objections during trial, the following sequential protocol shall be observed:

  objection, response, reply, ruling;

         18. That to eliminate or minimize bench or sidebar conferences, each party shall

  be responsible to inform the courtroom deputy clerk by the conclusion of a trial day

  about any issue which should be considered before commencing trial on the next

  scheduled day of trial and at the outset of a trial day about any issue which should be

  considered at the conclusion of that trial day;

         19. That to facilitate preparation, marshaling, and consideration of proposed jury



                                               8
Case 1:18-cv-00217-REB-KLM Document 38 Filed 07/23/18 USDC Colorado Page 9 of 9




  instructions and verdict forms, the parties shall identify and enumerate each individual

  jury instruction in the heading or title as specified in REB Civ. Practice Standard V.C.4.;

  provided, furthermore, the parties shall similarly identify and enumerate all proposed

  verdict forms and special interrogatories;

         20. That unless ordered otherwise, closing argument shall be limited to forty-five

  (45) minutes total for each party;

         21. That not later than five (5) business days before commencement of trial,

  counsel and any pro se party shall file and provide the court, the court reporter, the

  courtroom deputy clerk, opposing counsel, and any pro se party with a glossary of any

  difficult, unusual, scientific or technical jargon, words, names, terms, acronyms,

  initialisms, and/or phrases; provided further that to facilitate the preparation of the

  required glossary, counsel shall review all relevant trial-related materials, including, but

  not limited to, deposition transcripts, expert reports, witness statements, etc.; and

         22. That for additional information about courtroom protocol, courtroom

  technology and training, trial preparation, transport of items into the courthouse and

  courtroom, or submission of trial exhibits, contact Leigh Roberson at (303) 335-2166.

         Dated July 23, 2018, at Denver, Colorado.

                                                    BY THE COURT:




                                                9
